           Case 3:16-cv-00223-JCH Document 54 Filed 12/21/16 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


SHAWN WILMOTH                                 :       CIVIL ACTION NO. 3:16-cv-0223-JCH
 Plaintiff                                    :
                                              :
      v.                                      :
                                              :
DENISE MERRILL,                               :
 Defendant                                    :       DECEMBER 21, 2016

   PARTIES’ REPORT OF SETTLEMENT OF PETITION FOR ATTORNEYS’ FEES

       The Plaintiff, Shawn Wilmoth and the Defendant, Denise Merrill, Connecticut Secretary

of State (the “Secretary”) hereby report to the Court that parties have resolved the pending

petition for attorneys’ fees, (Docket # 46) and no longer require a ruling of the Court.

                                              Respectfully Submitted,

PLAINTIFF,                                         DEFENDANT,
SHAWN WILMOTH                                      DENISE MERRILL,
                                                   SECRETARY OF STATE OF
By: /s/ Paul A. Rossi                              CONNECTICUT
        Paul A. Rossi, Esq.
        Counsel for Plaintiff, Pro Hac Vice        ATTORNEY GENERAL
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                                                        Her Attorney
          Case 3:16-cv-00223-JCH Document 54 Filed 12/21/16 Page 2 of 2




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the above date a copy of the foregoing document was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF system.

                                              By: /s/ Maura Murphy Osborne
                                                      Maura Murphy Osborne




                                               -2-
